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6
      Attorney for Plaintiff

7
                           UNITED STATES DISTRICT COURT
8                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
      SUSAN LIVSHIN,                     ) Case No. 2:12-cv-09910-ODW-MAN
10                                       )
             Plaintiff,                  ) NOTICE OF SETTLEMENT
11
                                         )
12            vs.                        )
                                         )
13
      MRS BPS, LLC.,                     )
14                                       )
              Defendant.                 )
15
      __________________________________ ) ________________________________
16

17           NOW COMES THE PLAINTIFF by and through her attorney to respectfully

18    notify this Honorable Court that this case has settled. Plaintiff requests that this
19
      Honorable Court allow sixty (60) days with which to file dispositive documentation. A
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21
      Voluntary Dismissal will be forthcoming. This Court shall retain jurisdiction over this

22    matter until fully resolved.
23
                    Respectfully submitted this 28th day of January, 2013.
24

25
                                               By: s/Paul Mankin, IV
                                                  PAUL MANKIN, IV
26                                                Law Offices of Paul Mankin, IV
                                                  Attorney for Plaintiff
27

28    Filed electronically on this 28th day of January, 2013, with:



                                           Notice of Settlement - 1
     Case 2:12-cv-09910-ODW-MAN Document 7 Filed 01/28/13 Page 2 of 2 Page ID #:34



1     United States District Court CM/ECF system
2
      Notification sent electronically via the Court’s ECF system to:
3

4
      Honorable Otis D. Wright, II
      United States District Court
5     Central District of California
6
      Martin Schannong. Esq.
7     Carlson & Messer LLP
8
      Attorney for Defendant

9     This 28th day of January, 2013.
10
      s/Paul Mankin, IV
11    Paul Mankin, IV
12

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                                          Notice of Settlement - 2
